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           IN THE UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF ARKANSAS
                   NORTHERN DIVISION

HOME HEALTH PROFESSIONALS, INC.                              PLAINTIFF

v.                         3:23-cv-92-DPM

EMCASCO INSURANCE COMPANY                                 DEFENDANT

                  INITIAL SCHEDULING ORDER

     1.    A defendant appeared on 19 April 2023. A draft Final
Scheduling Order, including a trial date, is attached. [Today's Date]

     2.      The parties should meet, confer, and file their Rule 26(f)
report by 20 July 2023. In addition to complying with Local Rule 26.1,
the parties should estimate how many six-hour trial days are needed.

     3.    Based on the parties= report, the Court will either issue the
Final Scheduling Order as proposed, issue a revised version of it, or
hold a Rule 16(b) conference.

     4.    The Court encourages the parties to consider and confer
now about consenting to the randomly assigned Magistrate Judge
presiding over this case. Our Court's Magistrate Judges are able,
experienced, and available.

                             AT THE DIRECTION OF THE COURT
                             TAMMY H. DOWNS, CLERK

                             By: Sherri Black
                                 Courtroom Deputy to
                                 Judge D. P. Marshall Jr.

                                   5 June 2023
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              IN THE UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF ARKANSAS
                      NORTHERN DIVISION

HOME HEALTH PROFESSIONALS, INC.                                                 PLAINTIFF

v.                                   3:23-cv-92-DPM

EMCASCO INSURANCE COMPANY                                                   DEFENDANT

                   DRAFT FINAL SCHEDULING ORDER

Pursuant to Federal Rule of Civil Procedure 16(b), the Court orders:

     !    Deadline to request any
          pleading amendment........................................... 22 January 2024

     !    Joint status report due ............................................ 22 March 2024

     !    Plaintiffs shall identify all
          expert witnesses and produce
          their opinions by ..................................................... 22 March 2024

     !    Defendants shall identify all
          expert witnesses and produce
          their opinions by ....................................................... 23 April 2024

     !    Plaintiff shall identify any rebuttal
          expert witnesses and produce
          their opinions by .......................................................... 7 May 2024

     !    Discovery cutoff ........................................................... 7 June 2024




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   !        Dispositive and Daubert motions due1 ................. 7 August 2024

   !        Joint status report, including
            settlement conference request, due ...................... 7 August 2024

   !        Deposition designations exchanged2................... 7 January 2025

   !        Motions in limine due ......................................... 7 February 2025

   !        Local Rule 26.2 pre-trial
            disclosure sheets due ................................................ 6 March 2025

   !        Joint report on deposition designation
            disputes (if any) ......................................................... 6 March 2025

   !        Trial briefs due .......................................................... 6 March 2025

   !        Jury Instructions (agreed or disputed) due ........... 6 March 2025

   !        Jury Trial, Jonesboro Courtroom # 324 .................... 7 April 2025

   !        Amending Pleadings. Local Rule 5.5(e) requires a party to
            attach the proposed amended pleading to the motion. Please
            make this attachment a redline or comparison copy showing all
            proposed changes. Counsel should confer about proposed
            amendments. State in your motion to amend whether the
            change is agreed or opposed.

   !        Protective Orders. Before filing a motion for approval,
            counsel should email a draft order in WordPerfect or Word to
            chambers for review. Alert the law clerk on the case to the
            draft=s submission. Avoid legalese. Short, plain orders are

       1    Note and follow the procedure specified infra.
       2    Note and follow the procedure specified infra.


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         better than long, complicated ones. Incorporate Fed. R. Civ.
         P. 5.2's mandate for redaction, if practicable, before any filing
         under seal. The order should remain in effect no longer than
         one year after litigation ends, not in perpetuity. Incorporate
         the procedure for discovery disputes, see infra, to cover
         disputes about whether a document is confidential.

   !     Discovery Disputes. Counsel should confer in good faith in
         person before bringing any discovery dispute to the Court. Do
         not file motions to compel. Do not file a motion to quash or
         for protective order unless there is an emergency. If the
         parties reach a discovery impasse, they should file a joint report
         explaining the disagreement.        File this paper under the
         CM/ECF event called AJoint Report of Discovery Dispute@.
         Your joint report must not exceed ten pages, excluding the style
         and signature block. Each side gets five pages. Do not file a
         motion asking for more pages. Use double spacing and avoid
         footnotes.    Attach documents (such as disputed written
         discovery or responses) as needed. Redact any attachments
         as required by Federal Rule of Civil Procedure 5.2 to protect
         confidential information. File the joint report sufficiently
         before the discovery cutoff so that the dispute can be resolved,
         and any additional discovery completed, without undermining
         other pretrial deadlines. The Court will rule or schedule a
         hearing. Alert the law clerk on the case to the joint report=s
         filing. If a dispute arises during a deposition, call chambers
         so the Judge can rule during the deposition.

   !     Summary Judgment. Motions must comply with Federal
         Rule of Civil Procedure 56 and Local Rules 7.2 and 56.1. Make
         the complete condensed transcript of any deposition cited an
         exhibit. Limit your Rule 56.1 statements to material facts.
         Include a specific supporting record citation for each fact
         asserted. Responding statements of fact must repeat the
         statement being responded toClike a discovery response.
         Include a specific supporting record citation for each fact

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         disputed or asserted in the responding statement. A party=s
         substantial failure to follow these procedures will result in the
         party having to correct its filing. If the summary judgment
         papers are voluminous, the Court would appreciate the parties
         sending a courtesy paper copy to chambers. Any movant
         may reply within seven calendar days of a response to a motion
         for summary judgment.

   !     Deposition Designations. The Court strongly encourages
         the parties to use live testimony, rather than testimony by
         deposition, at trial. If the parties nonetheless need to use
         deposition testimony, then they must use the following
         procedure.      Thirty days before Local Rule 26.2 pre-trial
         disclosure sheets are due, the parties should exchange
         deposition designations. As soon as practicable thereafter,
         counsel must meet and confer in person. They should try
         hard to agree on what deposition testimony will be presented
         at trial and resolve any objections. If any dispute or objection
         remains unresolved, then the parties should file a joint report
         explaining the dispute on the same date pre-trial disclosure
         sheets are due. The parties must certify that they met and
         conferred in person but failed to resolve the disputed issue.
         The parties should also deliver to chambers a paper copy of the
         entire transcript of any deposition involved in any dispute.

   !     Jury Instructions. The Court will use its own introductory
         and general instructions.        The parties should submit
         proposed instructions only on elements and anything unusual
         and proposed verdict forms. The Court strongly encourages
         the parties to confer and agree on these instructions and forms.
         The parties should also submit an agreed proposed statement
         of the case. Note authority on the bottom of each proposed
         instruction.    Please explain the reason for any disputed
         instructions in your submission. Send agreed and disputed
         instructions      in     WordPerfect        or     Word       to
         dpmchambers@ared.uscourts.gov. Alert the law clerk on the

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         case that you have submitted the instructions.

   !     Exhibits. The Court strongly encourages the parties to agree
         on as many of the exhibits as possible. Deliver the original
         exhibits, and one copy, in three-ring binders to the Courtroom
         Deputy on the Wednesday before trial starts. Please also
         include an electronic copy, plus (on the Court’s forms) the
         exhibit and witness lists.

   !     Courtroom Technology.       Before any pretrial, and as soon as
         practicable before any hearing, counsel should contact the
         courtroom deputy about technology needs.              She will
         coordinate with the Court’s IT department. Any plan for use
         of non-Court technology must be approved by the IT
         department.

   !     Pre-Trial Hearing. It will be set by separate notice. We will
         address motions in limine, deposition excerpts for use at trial,
         jury instructions, trial architecture, exhibits, and voir dire.

   !     Conflicts Of Interest. Counsel must check the Court's recusal
         list on file in the U.S. District Clerk's Office to determine
         whether there is any conflict that might require recusal. If any
         party is a subsidiary or affiliate of any company in which the
         Court has a financial interest, counsel should bring that fact to
         the Court's attention immediately.

     Please communicate with Sherri Black, Courtroom Deputy, by e-
mail at sherri_black@ared.uscourts.gov to check your position on the
calendar as the trial date approaches. In the event of settlement,
advise Sherri Black immediately.




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                               AT THE DIRECTION OF THE COURT
                               TAMMY H. DOWNS, CLERK

                               By: Sherri Black
                                   Courtroom Deputy to
                                   Judge D. P. Marshall Jr.

                                     5 June 2023




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